                                     APPEA R AN CE SH EET
                           FOR THE UNITED STATES DISTRICT COURT
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                                                        CA SE N O .: 1:19M J57
V.
                                                        D A TE: 5/13/19
JAM ES L.JORDAN

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